      Case 2:05-cv-00852-MEF-TFM Document 30 Filed 01/08/07 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT FOR
                        THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

TERI SCHWEERS,                              )
                                            )
       Plaintiff,                           )
v.                                          )          CASE NO. 2:05-cv-852-MEF
                                            )                     (WO)
MONTGOMERY PUBLIC SCHOOLS,                  )
                                            )
       Defendant.                           )

                                    FINAL JUDGMENT

       In accordance with the Memorandum Opinion and Order entered this date, it is the

ORDER, JUDGMENT and DECREE of the Court as follows:

       (1) With respect to all claims in this action, judgment is ENTERED in favor of

Defendant Montgomery Public Schools and against Plaintiff Teri Schweers, with Plaintiff

taking nothing by her claims.

       (2) Costs are TAXED in favor of Defendant Montgomery Public Schools and

against Plaintiff Teri Schweers for which execution may issue.

       (3) The Clerk of the Court is DIRECTED to enter this document on the civil

docket sheet as a Final Judgment pursuant to Rule 58 of the Federal Rules of Civil

Procedure and to close this file.

       DONE this the 8 th day of January, 2007.




                                                  /s/ Mark E. Fuller
                                         CHIEF UNITED STATES DISTRICT JUDGE
